Case 3:17-cv-00072-NKM-JCH Document 88 Filed 11/09/17 Page 1of47 Pageid#: 297

UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF VIRGINIA
Charlottesville Division

ELIZABETH SINES, SETH WISPELWEY,
MARISSA BLAIR, TYLER MAGILL, APRIL
MUNIZ, HANNAH PEARCE, MARCUS
MARTIN, JOHN DOE, JANE DOE 1, JANE
DOE 2, AND JANE DOE 3,

Plaintiffs,
Vv. Civil Action No.: 3:17CV00072

JASON KESSLER, RICHARD SPENCER,
CHRISTOPHER CANTWELL, JAMES ALEX
FIELDS, JR., VANGUARD AMERICA,
ANDREW ANGLIN, MOONBASE

HOLDINGS, LLC, ROBERT “AZZMADOR”
RAY, NATHAN DAMIGO, ELLIOTT

KLINE a/k/a ELI MOSELEY, IDENTITY
EVROPA, MATTHEW HEIMBACH, MATTHEW
PARROTT a/k/a DAVID MATTHEW PARROTT,
TRADITIONALIST WORKER PARTY,
MICHAEL HILL, MICHAEL TUBBS, LEAGUE
OF THE SOUTH, JEFF SCHOEP, NATIONAL
SOCIALIST MOVEMENT, NATIONALIST
FRONT, AUGUSTUS SOL INVICTUS,
FRATERNAL ORDER OF THE ALT-KNIGHTS,
MICHAEL “ENOCH” PEINOVICH, LOYAL
WHITE KNIGHTS OF THE KU KLUX KLAN,
and EAST COAST KNIGHTS OF THE KU KLUX
KLAN a/k/a EAST COAST KNIGHTS OF THE
TRUE INVISIBLE EMPIRE,

Defendants.

ANSWER
Case 3:17-cv-00072-NKM-JCH Document 88 Filed 11/09/17 Page 2of47 Pageid#: 298

COMES NOW the Defendant, James Alex Fields, Jr., (“Fields"), by counsel, as and
for his Answer to the Complaint filed against him herein, and in support thereof states as
follows:

1. In response to Paragraph 1 of the Complaint, Fields admits only that he
traveled to Charlottesville, Virginia to attend the Unite the Right rally. Otherwise denied
as to Fields. He does not have sufficient information to respond to allegations as to the
intent of others.

2. In response to Paragraph 2, Fields does not have sufficient information to
admit or deny these allegations.

3. Fields denies the allegations in Paragraph 3 as to him. He does not have
sufficient information to respond to allegations as to the intent of others.

4. Fields denies the allegations in Paragraph 4 as to him. He does not have
sufficient information to respond to allegations as to the intent of others.

5. Fields denies the allegations in Paragraph 5 as to him. He does not have
sufficient information to respond to allegations as to the intent of others.

6. Fields denies the allegations in Paragraph 6 as to him. He does not have
sufficient information to respond to allegations as to the intent of others.

7. Paragraph 7 contains no allegations as to Fields and should require no
response. To the extent a further response is deemed required, denied.

JURISDICTION AND VENUE
Case 3:17-cv-00072-NKM-JCH Document 88 Filed 11/09/17 Page 30f47 Pageid#: 299

8. While denying the allegations in the Complaint generally, Fields admits
jurisdiction is proper.

9. While denying the allegations in the Complaint generally, Fields admits
venue is proper.

THE PARTIES
A. Plaintiffs

10. Fields does not have sufficient information to admit or deny the allegations of
Paragraphs 10.

11. Fields denies the allegations in Paragraph 11 as to him. He does not have
sufficient information to respond to allegations as to the intent or acts of others or to the
statements about this Plaintiff's background and/or alleged injuries and symptoms.

12. Fields denies the allegations in Paragraph 12 as to him. He does not have
sufficient information to respond to allegations as to the intent or acts of others, the
statements about this Plaintiff's actions and background, or the alleged injuries, limitations,
and symptoms.

13. _ Fields denies the allegations in Paragraph 13 as to him. He does not have
sufficient information to respond to allegations as to the intent or actions of others or this
Plaintiff's actions and alleged injuries or damages.

14. ‘Fields denies the allegations in Paragraph 14 as to him. He does not have
sufficient information to respond to allegations as to the intent or acts of others or to this

Plaintiff's claims regarding her actions and alleged injuries.
Case 3:17-cv-00072-NKM-JCH Document 88 Filed 11/09/17 Page 4of47 Pageid#: 300

15. While admitting the vehicle he was operating collided with the rear of
another vehicle, Fields otherwise denies the allegations in Paragraph 15 as to him. He does
not have sufficient information to respond to allegations as to the intent or acts of others or
Plaintiff's alleged injuries and damages.

16. While admitting the vehicle he was operating collided with the rear of
another vehicle, Fields otherwise denies the allegations in Paragraph 16 as to him. He does
not have sufficient information to respond to allegations as to the intent or acts of others or
Plaintiff's alleged injuries and damages.

17. While admitting the vehicle he was operating collided with the rear of
another vehicle, Fields otherwise denies the allegations in Paragraph 17 as to him. He does
not have sufficient information to respond to allegations as to the intent or acts of others or
Plaintiff's alleged injuries and damages.

18. While admitting the vehicle he was operating collided with the rear of
another vehicle, Fields otherwise denies the allegations in Paragraph 18 as to him. He does
not have sufficient information to respond to allegations as to the intent or acts of others or
Plaintiff's alleged injuries and damages.

19. While admitting the vehicle he was operating collided with the rear of
another vehicle, Fields otherwise denies the allegations in Paragraph 19 as to him. He does
not have sufficient information to respond to allegations as to the intent or acts of others or

Plaintiff's alleged injuries and damages.
Case 3:17-cv-00072-NKM-JCH Document 88 Filed 11/09/17 Page 5of47 Pageid#: 301

20. While admitting the vehicle he was operating collided with the rear of
another vehicle, Fields otherwise denies the allegations in Paragraph 20 as to him. He does
not have sufficient information to respond to allegations as to the intent or acts of others or
Plaintiff's alleged injuries and damages.

B. Defendants

21. Paragraph 21 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations.

22. Paragraph 22 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations.

23. Paragraph 23 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, denied.

24. Inresponse to Paragraph 24, Fields admits he is a resident of Ohio and that
the front of his Dodge Challenger collided with the rear of another vehicle. He further
admits he has been charged with the crimes related to the collision. Otherwise denied.

25. In response to Paragraph 25, Fields denies any allegations that might be
interpreted as to him. He admits that he carried a shield given to him by a stranger at the
Unite the Right event on August 12. Otherwise denied. Fields does not have sufficient

information to respond to allegations as to the intent or acts of others.
Case 3:17-cv-00072-NKM-JCH Document 88 Filed 11/09/17 Page 6of47 Pageid#: 302

26. Paragraph 26 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations.

27. Paragraph 27 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations.

28. Paragraph 28 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations.

29. Paragraph 29 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations.

30. Paragraph 30 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations.

31. Paragraph 31 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations.

32. Paragraph 32 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient

information to respond to these allegations.
Case 3:17-cv-00072-NKM-JCH Document 88 Filed 11/09/17 Page 7 of 47 Pageid#: 303

33. Paragraph 33 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations.

34. Paragraph 34 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations.

35. Paragraph 35 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations.

36. Paragraph 36 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations.

37. Paragraph 37 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations,

38. Paragraph 38 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations.

39. Paragraph 39 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient

information to respond to these allegations.
Case 3:17-cv-00072-NKM-JCH Document 88 Filed 11/09/17 Page 8 of 47 Pageid#: 304

40. Paragraph 40 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations.

41. Paragraph 41 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations.

42. Paragraph 42 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations.

43. Paragraph 43 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations.

44, __ Paragraph 44 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations.

45. Paragraph 45 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations.

FACTS
46. _ Fields denies the allegations in Paragraph 46 as to him. He does not have

sufficient information to respond to allegations as to the intent or acts of others.
Case 3:17-cv-00072-NKM-JCH Document 88 Filed 11/09/17 Page 9of47 Pageid#: 305

47, Fields denies the allegations in Paragraph 47 as to him. He does not have
sufficient information to respond to allegations as to the intent or acts of others.

48. _ Fields denies the allegations in Paragraph 48 as to him. He does not have
sufficient information to respond to allegations as to the intent or acts of others.

49. __ Fields denies the allegations in Paragraph 49 as to him. He does not have
sufficient information to respond to allegations as to the intent or acts of others.

50. Fields denies the allegations in Paragraph 50 as to him. He does not have
sufficient information to respond to allegations as to the intent or acts of others.

51. Fields denies the allegations in Paragraph 51 as to him. He does not have
sufficient information to respond to allegations as to the intent or acts of others.

52. Fields denies the allegations in Paragraph 52 as to him. He does not have
sufficient information to respond to allegations as to the intent or acts of others.

53. Paragraph 53 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations.

54. Fields denies the allegations in Paragraph 54 as to him. He does not have
sufficient information to respond to allegations as to the intent or acts of others.

95. Fields denies the allegations in Paragraph 55 as to him. He does not have
sufficient information to respond to allegations as to the intent or acts of others.

56. Fields denies the allegations in Paragraph 56 as to him. He does not have

sufficient information to respond to allegations as to the intent or acts of others.
Case 3:17-cv-00072-NKM-JCH Document 88 Filed 11/09/17 Page 10o0f47 Pageid#: 306

57. Fields denies the allegations in Paragraph 57 as to him. He does not have
sufficient information to respond to allegations as to the intent or acts of others.

58. Paragraph 58 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations.

59. Paragraph 59 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations.

60. Fields denies the allegations in Paragraph 60 as to him. He does not have
sufficient information to respond to allegations as to the intent or acts of others.

61. Fields denies the allegations in Paragraph 61 as to him. He does not have
sufficient information to respond to allegations as to the intent or acts of others.

62. Paragraph 62 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations.

63. Fields denies the allegations in Paragraph 63 as to him. He does not have
sufficient information to respond to allegations as to the intent or acts of others.

64, Paragraph 64 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient

information to respond to these allegations.

10
Case 3:17-cv-00072-NKM-JCH Document 88 Filed 11/09/17 Page 11of47 Pageid#: 307

65. Fields denies the allegations in Paragraph 65 as to him. He does not have
sufficient information to respond to allegations as to the intent or acts of others.

66. Fields denies the allegations in Paragraph 66 as to him. He does not have
sufficient information to respond to allegations as to the intent or acts of others.

67. Fields denies the allegations in Paragraph 67 as to him. He does not have
sufficient information to respond to allegations as to the intent or acts of others.

68. Fields denies the allegations in Paragraph 68 as to him. He does not have
sufficient information to respond to allegations as to the intent or acts of others.

69. Fields denies the allegations in Paragraph 69 as to him. He does not have
sufficient information to respond to allegations as to the intent or acts of others.

70. Fields denies the allegations in Paragraph 70 as to him. He does not have
sufficient information to respond to allegations as to the intent or acts of others.

71. Fields denies the allegations in Paragraph 71 as to him. He does not have
sufficient information to respond to allegations as to the intent or acts of others.

72. Fields denies the allegations in Paragraph 72 as to him. He does not have
sufficient information to respond to allegations as to the intent or acts of others.

73. Fields does not have sufficient information to admit or deny the allegations of
Paragraph 73.

74. Fields does not have sufficient information to admit or deny the allegations of

Paragraph 74.

11
Case 3:17-cv-00072-NKM-JCH Document 88 Filed 11/09/17 Page 12o0f47 Pageid#: 308

75. Fields does not have sufficient information to admit or deny the allegations of
Paragraph 75,

76. _ Fields does not have sufficient information to admit or deny the allegations of
Paragraph 76.

77. Fields does not have sufficient information to admit or deny the allegations of
Paragraph 77.

78. Fields denies the allegations in Paragraph 78 as to him. He does not have
sufficient information to respond to allegations as to the intent or acts of others

79. Fields does not have sufficient information to admit or deny the allegations of
Paragraph 79.

80. In response to Paragraph 80, Fields admits that upon information and believe,
a “Charlottesville Statement” was published by Spencer that contains the quoted language.

Fields does not have sufficient information to respond the remaining allegations of
Paragraph 80.

81. Paragraph 81 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations.

82. Paragraph 82 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient

information to respond to these allegations.

12
Case 3:17-cv-00072-NKM-JCH Document 88 Filed 11/09/17 Page 13 o0f47 Pageid#: 309

83. Paragraph 83 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations.

84. Paragraph 84 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations.

85. Paragraph 85 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations.

86. Paragraph 86 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields admits upon information and
belief that such a poster was made public.

87. Paragraph 87 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations.

88. Paragraph 88 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations.

89. Paragraph 89 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient

information to respond to these allegations.

13
Case 3:17-cv-00072-NKM-JCH Document 88 Filed 11/09/17 Page 14o0f47 Pageid#: 310

90, Paragraph 90 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations.

91. Fields denies the allegations in Paragraph 91 as to him. He does not have
sufficient information to respond to allegations as to the intent or acts of others.

92. Fields denies the allegations in Paragraph 92 as to him. He does not have
sufficient information to respond to allegations as to the intent or acts of others.

93. Fields denies the allegations in Paragraph 93 as to him. He does not have
sufficient information to respond to allegations as to the intent or acts of others.

94. Paragraph 94 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations.

95. Paragraph 95 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations.

96. Fields denies the allegations in Paragraph 96 as to him. He does not have
sufficient information to respond to allegations as to the intent or acts of others.

97. Fields denies the allegations in Paragraph 97 as to him. He does not have

sufficient information to respond to allegations as to the intent or acts of others.

14
Case 3:17-cv-00072-NKM-JCH Document 88 Filed 11/09/17 Page 15o0f47 Pageid#: 311

98. Paragraph 98 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations.

99. Fields denies the allegations in Paragraph 99 as to him. He does not have
sufficient information to respond to allegations as to the intent or acts of others.

100. Paragraph 100 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations.

101. Fields denies the allegations in Paragraph 101 as to him. He does not have
sufficient information to respond to allegations as to the intent or acts of others.

102. Paragraph 102 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations.

103. Fields denies the allegations in Paragraph 103 as to him. He does not have
sufficient information to respond to allegations as to the intent or acts of others.

104. Paragraph 104 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations.

105. Paragraph 105 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient

information to respond to these allegations.

15
Case 3:17-cv-00072-NKM-JCH Document 88 Filed 11/09/17 Page 16 of 47 Pageid#: 312

106. Paragraph 106 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations.

107. Paragraph 107 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations.

108. Fields denies the allegations in Paragraph 108 as to him. He does not have
sufficient information to respond to allegations as to the intent or acts of others.

109. Fields denies the allegations in Paragraph 109 as to him. He does not have
sufficient information to respond to allegations as to the intent or acts of others.

110. Paragraph 110 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations

111. Fields denies the allegations in Paragraph 111 as to him. He does not have
sufficient information to respond to allegations as to the intent or acts of others.

112. Fields denies the allegations in Paragraph 112 as to him. He does not have
sufficient information to respond to allegations as to the intent or acts of others.

113. Paragraph 113 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient

information to determine what was the “official” poster for the event. However, Fields

16
Case 3:17-cv-00072-NKM-JCH Document 88 Filed 11/09/17 Page 17 of 47 Pageid#: 313

admits the photograph below Paragraph 113 does appear to have confederate flags and
monuments, etc.

114. Fields denies the allegations in Paragraph 114 as to him. He does not have
sufficient information to respond to allegations as to the intent or acts of others.

115. Fields denies the allegations in Paragraph 115 as to him. He does not have
sufficient information to respond to allegations as to the intent or acts of others.

116. Paragraph 116 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations.

117. Paragraph 117 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations.

118. Paragraph 118 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations.

119. Paragraph 119 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations.

120. In response to Paragraph 120, Fields admits only that he met with other
attendees once in Charlottesville to walk to the event. Fields does not have sufficient

information to respond to allegations regarding the actions and intents of others.

1?
Case 3:17-cv-00072-NKM-JCH Document 88 Filed 11/09/17 Page 18 of 47 Pageid#: 314

121. Paragraph 121 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations

122. Paragraph 122 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations as to the actions and intents of others.

123. Paragraph 123 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations as to the actions and intents of others.

124. Paragraph 124 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations as to the actions and intents of others.

125. Paragraph 125 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations as to the actions and intents of others.

126. Paragraph 126 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations.

127. Paragraph 127 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient

information to respond to these allegations.

18
Case 3:17-cv-00072-NKM-JCH Document 88 Filed 11/09/17 Page 19o0f47 Pageid#: 315

128. Paragraph 128 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations.

129. Paragraph 129 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations.

130. Fields denies the allegations in Paragraph 130 as to him. He does not have
sufficient information to respond to allegations as to the intent or acts of others.

131. Paragraph 131 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations.

132. Fields denies the allegations in Paragraph 132 as to him. He does not have
sufficient information to respond to allegations as to the intent or acts of others.

133. Fields denies the allegations in Paragraph 133 as to him. He does not have
sufficient information to respond to allegations as to the intent or acts of others.

134. Fields denies the allegations in Paragraph 134 as to him. He does not have
sufficient information to respond to allegations as to the intent or acts of others.

135. Fields denies the allegations in Paragraph 135 as to him. He does not have

sufficient information to respond to allegations as to the intent or acts of others.

19
Case 3:17-cv-00072-NKM-JCH Document 88 Filed 11/09/17 Page 20 of 47 Pageid#: 316

136. Paragraph 136 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations.

137. Fields denies the allegations in Paragraph 137 as to him. He does not have
sufficient information to respond to allegations as to the intent or acts of others.

138. Paragraph 138 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations.

139. Fields denies the allegations in Paragraph 139 as to him. He does not have
sufficient information to respond to aliegations as to the intent or acts of others.

140. Fields denies the allegations in Paragraph 140 as to him. He does not have
sufficient information to respond to allegations as to the intent or acts of others.

141. Paragraph 141 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations.

142. Paragraph 142 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations.

143. Fields denies Paragraph 143 as to him. He does not have sufficient

information to respond to allegations as to the intent or acts of others.

20
Case 3:17-cv-00072-NKM-JCH Document 88 Filed 11/09/17 Page 21 o0f47 Pageid#: 317

144. Paragraph 144 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations.

145. Paragraph 145 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations.

146. Fields denies Paragraph 146 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others.

147. Fields denies Paragraph 147 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others.

148. Fields denies Paragraph 148 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others.

149. Paragraph 149 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations.

150. Fields denies Paragraph 150 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others.

151. Fields denies Paragraph 151 as to him. He does not have sufficient

information to respond to allegations as to the intent or acts of others.

2i
Case 3:17-cv-00072-NKM-JCH Document 88 Filed 11/09/17 Page 22 of 47 Pageid#: 318

152. Paragraph 152 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations.

153. Fields denies Paragraph 153 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others,

154. Fields denies Paragraph 154 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others.

155. Fields denies Paragraph 155 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others.

156. Fields denies Paragraph 156 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others.

157. Paragraph 157 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations.

158. Fields denies Paragraph 158 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others.

159. Fields denies Paragraph 159 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others nor to the mental

state of Plaintiff John Doe.

22
Case 3:17-cv-00072-NKM-JCH Document 88 Filed 11/09/17 Page 23 of 47 Pageid#: 319

160. Fields denies Paragraph 160 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others nor to the mental
state of Plaintiffs.

161. Paragraph 161 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations.

162. Fields denies Paragraph 162 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others nor to the mental
state of Plaintiffs.

163. Paragraph 163 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations.

164. Paragraph 164 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations.

165. Fields denies Paragraph 165 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others nor to the mental
state of Plaintiffs.

166. Paragraph 166 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient

information to respond to these allegations.

23
Case 3:17-cv-00072-NKM-JCH Document 88 Filed 11/09/17 Page 24 of 47 Pageid#: 320

167. Fields denies Paragraph 167 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others nor to the mental
state or observation of Plaintiff.

168. Paragraph 168 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations.

169. Paragraph 169 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations.

170. Paragraph 170 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations.

171. Paragraph 171 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations.

172. Fields denies Paragraph 172 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others.

173. Fields denies Paragraph 173 as to him. He does not have sufficient

information to respond to allegations as to the intent or acts of others.

24
Case 3:17-cv-00072-NKM-JCH Document 88 Filed 11/09/17 Page 25o0f47 Pageid#: 321

174, Paragraph 174 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations.

175. Paragraph 175 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations.

176. Paragraph 176 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations.

177. Paragraph 177 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations.

178. In response to Paragraph 178, Fields denies he knew any intimidating,
threatening or otherwise illegal conduct was being planned or coordinated.

179. Fields denies Paragraph 179 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others and did not have any
knowledge of any plan formulated by Chief Thomas or others.

180. Fields denies Paragraph 180 as to him. He does not have sufficient

information to respond to allegations as to the intent or acts of others.

25
Case 3:17-cv-00072-NKM-JCH Document 88 Filed 11/09/17 Page 26 of 47 Pageid#: 322

181. Paragraph 181 not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to
respond to these allegations.

182. Inresponse to Paragraph 182, Fields admits he walked to the Park with other
individuals. Someone he did not know handed him a shield. Otherwise denied.

183. Paragraph 183 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations.

184, Paragraph 184 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations.

185. Paragraph 185 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations.

186. Fields denies Paragraph 186 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others.

187. Fields denies Paragraph 187 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others.

188. Fields denies Paragraph 188 as to him. He does not have sufficient

information to respond to allegations as to the intent or acts of others.

26
Case 3:17-cv-00072-NKM-JCH Document 88 Filed 11/09/17 Page 27 of 47 Pageid#: 323

189. Paragraph 189 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations.

190. Paragraph 190 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations.

191. Fields denies Paragraph 191 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others.

192, Fields denies Paragraph 192 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others.

193. Fields denies Paragraph 193 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others.

194. Fields denies Paragraph 194 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others.

195. Paragraph 195 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations.

196. Fields denies Paragraph 196 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others.

197. Fields denies Paragraph 197 as to him. He does not have sufficient

information to respond to allegations as to the intent or acts of others.

27
Case 3:17-cv-00072-NKM-JCH Document 88 Filed 11/09/17 Page 28 of 47 Pageid#: 324

198. Fields denies Paragraph 198 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others.

199. Fields denies Paragraph 199 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others.

200. Paragraph 200 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations.

201. Paragraph 201 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations.

202. Fields denies Paragraph 202 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others.

203. Fields denies Paragraph 203 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others.

204. Upon information and belief, Fields admits the allegations of Paragraph 204.
At the time, he was not aware of this declaration.

205. Upon information and belief and in response to Paragraph 205, Fields admits
that Governor McAuliffe declared a state of emergency. At the time, he was not aware of
this declaration. Fields does not have sufficient information to admit or deny the quote

attributed to Governor McAuliffe in this paragraph.

28
Case 3:17-cv-00072-NKM-JCH Document 88 Filed 11/09/17 Page 29 0f 47 Pageid#: 325

206. Paragraph 206 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations.

207. Fields denies Paragraph 207 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others.

208. Paragraph 208 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations.

209. Paragraph 209 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations.

210. Paragraph 210 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations.

211. Paragraph 211 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations.

212. Fields denies Paragraph 212 as to him. He does not have sufficient

information to respond to allegations as to the intent or acts of others.

29
Case 3:17-cv-00072-NKM-JCH Document 88 Filed 11/09/17 Page 300f47 Pageid#: 326

2713. Paragraph 213 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations

214. In response to Paragraph 214, Fields denies he planned violent actions or
knew violent actions were being planned.

215. Fields denies Paragraph 215 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others.

216. Fields denies Paragraph 216 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others.

217. Fields denies Paragraph 217 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others.

218. Fields denies Paragraph 218 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others or what is a“ popular
anti-Black lives Matter and anti-racial justice protest catchphrase.” The remaining
allegations are not addressed to Fields and should require no response.

219. Fields denies Paragraph 219 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others.

220. Fields denies Paragraph 220 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others.

221. Fields denies Paragraph 221 as to him. He does not have sufficient

information to respond to allegations as to the intent or acts of others.

30
Case 3:17-cv-00072-NKM-JCH Document 88 Filed 11/09/17 Page 31o0f47 Pageid#: 327

222. Fields denies Paragraph 222 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others.

223. Fields denies Paragraph 223 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others.

224. Fields denies Paragraph 224.

225. Fields denies Paragraph 225 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others.

226. Paragraph 226 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations.

227. Paragraph 227 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations.

228. Paragraph 228 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations.

229. Paragraph 229 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient

information to respond to these allegations.

31
Case 3:17-cv-00072-NKM-JCH Document 88 Filed 11/09/17 Page 32 of 47 Pageid#: 328

230. Paragraph 230 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations.

231. Fields does not have sufficient information to respond to the allegations in
Paragraph 231.

232. Paragraph 232 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations.

233. Paragraph 233 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations.

234. Paragraph 234 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations.

235. Paragraph 235 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations.

236. Paragraph 236 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient

information to respond to these allegations.

32
Case 3:17-cv-00072-NKM-JCH Document 88 Filed 11/09/17 Page 33 0f 47 Pageid#: 329

237. Paragraph 237 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations.

238. Paragraph 238 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations.

239. Paragraph 239 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations.

240. Paragraph 240 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations.

241. Paragraph 241 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations.

242. Fields denies the allegations in Paragraph 242 as to him. He does not have
sufficient information to respond to allegations as to the intent or acts of others.

243. Paragraph 243 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient

information to respond to these allegations.

33
Case 3:17-cv-00072-NKM-JCH Document 88 Filed 11/09/17 Page 34 of 47 Pageid#: 330

244. Paragraph 244 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations.

245. Paragraph 245 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations.

246. Paragraph 246 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations.

247. Paragraph 247 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations.

248. Paragraph 248 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations.

249. Paragraph 249 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations.

250, Paragraph 250 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient

information to respond to these allegations.

34
Case 3:17-cv-00072-NKM-JCH Document 88 Filed 11/09/17 Page 35o0f47 Pageid#: 331

251. Paragraph 251 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations.

252. Paragraph 252 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations.

293. Paragraph 253 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations.

254. Paragraph 254 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations.

255. Fields denies Paragraph 255 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others.

256. Fields denies Paragraph 256 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others.

257. In responding to Paragraph 257, Fields admits upon information and belief
only that Congress passed a joint resolution as alleged.

258. In responding to Paragraph 258, Fields admits upon information and belief
only that this paragraph accurately describes additional language in the joint resolution.

259. Fields admits Paragraph 259 upon information and belief.

35
Case 3:17-cv-00072-NKM-JCH Document 88 Filed 11/09/17 Page 36 of 47 Pageid#: 332

260. Fields does not have sufficient information to admit or deny the allegations in
Paragraph 260.

261. Fields does not have sufficient information to admit or deny the allegations in
Paragraph 261.

262. Fields does not have sufficient information to admit or deny the allegations in
Paragraph 262.

263. Fields denies he committed a “car attack.” Fields does not have sufficient
information to admit or deny the remaining allegations in Paragraph 263.

264. Fields denies he committed an “attack.” Fields does not have sufficient
information to admit or deny the remaining allegations in Paragraph 264.

265. Fields does not have sufficient information to admit or deny the allegations in
Paragraph 265.

266. Inresponse to Paragraph 266, Fields denies he committed a “terrorist attack.”
Fields does not have sufficient information to admit or deny the remaining allegations in
Paragraph 266.

267. Fields denies he committed a “car attack.” Fields does not have sufficient
information to admit or deny the remaining allegations in Paragraph 267.

268. Fields does not have sufficient information to admit or deny the remaining
allegations in Paragraph 268.

269. Fields denies he committed a “car attack.” Fields does not have sufficient

information to admit or deny the remaining allegations in Paragraph 269.

36
Case 3:17-cv-00072-NKM-JCH Document 88 Filed 11/09/17 Page 37 of 47 Pageid#: 333

270. Fields denies Paragraph 270 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others or the alleged
emotional injuries.

271. Fields denies he committed a “car attack.” Fields does not have sufficient
information to admit or deny the remaining allegations in Paragraph 271.

272, Paragraph 272 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations.

273. Fields denies Paragraph 273 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others.

274. Paragraph 274 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations.

275. Paragraph 275 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations.

276. Paragraph 276 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient

information to respond to these allegations.

37
Case 3:17-cv-00072-NKM-JCH Document 88 Filed 11/09/17 Page 38 of 47 Pageid#: 334

277. Paragraph 277 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations.

278. Paragraph 278 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations.

279. Paragraph 279 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations.

280. Fields denies Paragraph 280 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others.

281. Paragraph 281 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations.

282. Fields denies Paragraph 282 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others.

283. Paragraph 283 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations.

284. Fields denies Paragraph 284 as to him. He does not have sufficient

information to respond to allegations as to the intent or acts of others.

38
Case 3:17-cv-00072-NKM-JCH Document 88 Filed 11/09/17 Page 39 0f47 Pageid#: 335

285. Paragraph 285 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations.

286. Paragraph 286 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations as to others but denies them as to him.

287. Paragraph 287 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations

288. Paragraph 288 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations.

289. Paragraph 289 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations.

290. Paragraph 290 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations.

291. Paragraph 291 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient

information to respond to these allegations.

39
Case 3:17-cv-00072-NKM-JCH Document 88 Filed 11/09/17 Page 40 of 47 Pageid#: 336

292. Paragraph 292 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations.

293. Paragraph 293 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations.

294. Paragraph 294 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations.

295. Paragraph 295 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations.

296. Paragraph 296 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations.

297. Paragraph 297 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations.

298. Paragraph 298 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient

information to respond to these allegations.

49
Case 3:17-cv-00072-NKM-JCH Document 88 Filed 11/09/17 Page 41 0f47 Pageid#: 337

299. Paragraph 299 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations.

300. Paragraph 300 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations.

301. Paragraph 301 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations.

302. Paragraph 302 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations.

303. Fields denies Paragraph 303 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others.

304. Inresponse to Paragraph 304, Fields admits only that he attended the event in
Charlottesville; was wearing a white polo shirt (that did not have the Vanguard logo on it)
and khakis; and was carrying an object with the Vanguard logo for some portions of the
event. Otherwise denied.

305. Paragraph 305 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient

information to respond to these allegations.

41
Case 3:17-cv-00072-NKM-JCH Document 88 Filed 11/09/17 Page 42 o0f 47 Pageid#: 338

306. Fields denies Paragraph 306 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others.

307. Fields denies Paragraph 307.

308. In response to Paragraph 308, Fields incorporates the responses in all
preceding paragraphs.

309. Fields denies Paragraph 309 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others.

310. Fields denies Paragraph 310 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others.

311. Fields denies Paragraph 311 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others

312. Paragraph 312 is not addressed to Fields and should require no response. To
the extent a further response is deemed required, Fields does not have sufficient
information to respond to these allegations.

313. Fields denies Paragraph 313 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others.

314. Fields denies Paragraph 314 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others or alleged injuries or

damages claimed by Plaintiffs.

42
Case 3:17-cv-00072-NKM-JCH Document 88 Filed 11/09/17 Page 43 of 47 Pageid#: 339

315. Fields denies Paragraph 315 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others or alleged injuries or
damages claimed by Plaintifts.

316. In response to Paragraph 316, Fields incorporates the responses in all
preceding paragraphs.

317. Fields denies Paragraph 317 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others.

318. Fields denies Paragraph 318 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others.

319. In response to Paragraph 319, Fields was not aware of any conspiracy or overt
acts alleged to have been committed in furtherance of the conspiracy. Further, Fields does
not have sufficient information to respond to the allegations of injuries claimed by
Plaintiffs.

320. Fields denies Paragraph 320 as to him. He does not have sufficient
information to respond to the allegations as to the intent or acts of others.

321. Fields denies Paragraph 321 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others or the alleged injuries
claimed by Plaintiffs.

322. In response to Paragraph 322, Fields incorporates the responses in all

preceding paragraphs.

43
Case 3:17-cv-00072-NKM-JCH Document 88 Filed 11/09/17 Page 44 of 47 Pageid#: 340

323. Fields denies Paragraph 323 including all subparts as to him. He does not
have sufficient information to respond to allegations as to the intent or acts of others.

324. Fields denies Paragraph 324 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others or the alleged
damages claimed by Plaintiffs and demands strict proof thereof.

325. Fields denies Paragraph 325 as to him and denies he is liable and denies he
acted in pursuit of a common conspiratorial scheme.

326. In response to Paragraph 326, Fields incorporates the responses in all
preceding paragraphs.

327. Fields admits Paragraph 327 is a generally correct summation of the cited
Virginia code section.

328. Fields admits Paragraph 328 is a partially correct summation of the definition
of “act of terrorism” in the cited Virginia code section.

329. Fields does not have sufficient information to respond to the allegations of
Paragraph 329.

330. Fields denies Paragraph 330.

331. Fields does not have sufficient information to respond to the allegations of
Paragraph 331.

332. Fields does not have sufficient information to respond to the allegations of

Paragraph 332 including either the legislative intent or the Plaintiff's alleged injuries.

44
Case 3:17-cv-00072-NKM-JCH Document 88 Filed 11/09/17 Page 45o0f47 Pageid#: 341

333. Fields denies Paragraph 333 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others or the alleged
damages and causation therefore claimed by Plaintiffs.

334. In response to Paragraph 334, Fields incorporates the responses in all
preceding paragraphs.

335. Fields admits Paragraph 335 is an accurate summation of the cited Virginia
code section.

336. Fields denies Paragraph 336 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others or the alleged injuries
claimed by Plaintiffs.

337. Fields denies Paragraph 337 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others or the alleged injuries
claimed by Plaintiffs.

338. In response to Paragraph 338, Fields incorporates the responses in all
preceding paragraphs.

339. Fields denies Paragraph 339 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others or the alleged injuries
claimed by Plaintiffs.

340, In response to Paragraph 340, Fields incorporates the responses in all
preceding paragraphs.

341. Fields denies Paragraph 341.

45
Case 3:17-cv-00072-NKM-JCH Document 88 Filed 11/09/17 Page 46 of 47 Pageid#: 342

342,

343.

344.

345.

346.

347.

348.

Fields denies Paragraph 342.
Fields denies Paragraph 343.
Fields denies Paragraph 344,
Fields denies Paragraph 345.
Fields denies Paragraph 346.

Fields denies Paragraph 347.

To the extent a response is deemed necessary, Fields denies all allegations not

specifically admitted including those encompassed in any headings and/or footnotes.

349,

Fields denies that any sum is owed Plaintiffs by him or that Plaintiffs have

been injured in the manner or to the extent alleged.

350.

Fields respectfully demands a TRIAL BY JURY.

46

Respectfully submitted,

JAMES ALEX FIELDS, JR.
By Counsel

/s/_David L, Campbell
David L. Hauck, Esquire (VSB# 20565)
Justin S. Gravatt, Esquire (VSB # )
David L. Campbell, Esquire (VSB #75960)
DUANE, HAUCK, DAVIS & GRAVATT, P.C.
100 West Franklin Street
Richmond, Virginia 23220
Telephone: 804-644-7400
Facsimile: 804-303-8911
dcampbell@dhdglaw.com
Counsel for Defendant James A. Fields, Jr.
Case 3:17-cv-00072-NKM-JCH Document 88 Filed 11/09/17 Page 47 of 47 Pageid#: 343

CERTIFICATE OF SERVICE

 

I hereby certify that on 9™ day of November, 2017, I electronically filed the
foregoing with the Clerk of Court using the CM/ECF system which will send notification
of such filing to the following:

Robert T. Cahill, Esquire
Cooley, LLP

11951 Freedom Drive, 14 Floor
Reston, Virginia 20190-5656
Counsel for Plaintiff

Roberta A. Kaplan, Esquire
Julie E. Fink, Esquire
Kaplan & Company, LLP
350 Fifth Avenue, Suite 7110
New York, New York 10118

Karen L. Dunn, Esquire
William A. Isaacson, Esquire
Boies Schiller Flexner LLP
1401 New York Ave, NW
Washington, DC 20005

Philip M. Bowman, Esquire
Boies Schiller Flexner LLP
575 Lexington Avenue
New York, New York 10022

Alan Levine, Esquire

Cooley LLP

1114 Avenue of the Americas, 46t Floor
New York, New York 10036

David E. Mills, Esquire

Cooley LLP

1299 Pennsylvania Avenue, NW
Suite 700

Washington, DC 20004

47
